Case 1:16-cv-01456-RJJ-PJG ECF No. 16 filed 07/28/17 PageID.92 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN

 NICHOLAS HUFFMAN,                          §
                                            §
        Plaintiff                           §     Case No. 1:16-cv-1456
                                            §
 -v-                                        §     HON. ROBERT J. JONKER
                                            §
 FOSTER, SWIFT, COLLINS                     §
 & SMITH, P.C.                              §
                                            §
        Defendant.                          §


                    STIPULATION OF VOLUNTARY DISMISSAL
                       PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)



         IT IS HEREBY STIPULATED AND AGREED by the parties and/or their
 respective counsel that the above captioned matter is voluntarily dismissed, with
 prejudice against the defendant pursuant to the Federal Rules of Civil Procedure
 41(a)(1)(A)(ii).



 ___/s/___________________________          __/s/____________________________
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 Dated:__7/28/17_____                             Dated: __7/28/17_____
